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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA


   IN RE: ZANTAC (RANITIDINE)                                                  MDL NO. 2924
   PRODUCTS LIABILITY                                                           20-MD-2924
   LITIGATION
                                                     JUDGE ROBIN L. ROSENBERG
                                            MAGISTRATE JUDGE BRUCE E. REINHART

   _______________________________/

   THIS DOCUMENT RELATES TO: ALL CASES

                                  PRETRIAL ORDER #3
                           Order Clarifying Application Procedures

          It has come to the Court’s attention that many attorneys have not yet received their

   CM/ECF login information for electronic filing. Therefore, any attorney endeavoring to submit

   a Notice of Filing Application to Serve on the Initial Census Team or a Notice of Filing

   Application to Serve on the Practices and Procedures Team may email the Notice directly to

   Chambers or may file the Notice through an attorney who has obtained electronic filing

   privileges.   The Chambers email address is: Rosenberg@flsd.uscourts.gov.          No other

   communications may be emailed directly to Chambers.

          All future filings must be filed with the Court in accordance with Pretrial Order #1.

   Because obtaining login information may take some time, the Court encourages attorneys to

   submit their Certificates of Understanding Regarding Electronic Filing, attached to Pretrial

   Order #1 as Schedule C, as soon as possible.
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          Finally, the Court will entertain an application from any attorney who anticipates

   participating in this matter even though the attorney’s case or cases have not yet been filed

   and/or transferred to this Court for consolidation into the MDL.

          DONE and ORDERED in Chambers, West Palm Beach, Florida, this 20th day of

   February, 2020.


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                                                       ROBIN L. ROSENBERG
                                                       UNITED STATES DISTRICT JUDGE




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